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                       UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

 DEAN J. GROULX, ESQ. and LAW OFFICES
 OF DEAN J. GROULX, P.C.,

 Plaintiffs / Counter-Defendants,                 Case No. 3:20-10464-RHC-DRG
                                                  Hon. Robert H. Cleland
 v.                                               Mag. Judge David R. Grand

 CONFEDERATION TECHNOLOGIES INC.,
 CONFEDERATION HOLDINGS INC., and
 DAVID MacDONALD,

 Defendants / Counter-Plaintiffs.

         ANSWER, AFFIRMATIVE DEFENSES, AND JURY DEMAND
                         IN RESPONSE TO
             PLAINTIFFS’ FIRST AMENDED COMPLAINT

       Defendants respond to Plaintiffs’ First Amended Complaint as follows:

PLAINTIFFS’ ALLEGATION:

      “1. Dean J. Groulx, Esq. is a Michigan citizen who resides and whose place
of business is in Oakland County, Michigan. Mr. Groulx is an attorney, in good
standing, licensed to practice law in the State of Michigan.”

ANSWER: In response to the allegations contained in paragraph 1 of the First

Amended Complaint, Defendants neither admit nor deny those allegations in the form

and manner alleged by Plaintiffs for the reason that they are without sufficient

knowledge or information to form a belief as to the truth of the allegations and leave

Plaintiffs to their proofs.
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PLAINTIFFS’ ALLEGATION:

      “2. Law Offices of Dean J. Groulx, P.C. is a Michigan professional
corporation whose principal place of business is located in Oakland County, Michigan.
Mr. Groulx is the sole-shareholder of Law Offices of Dean J. Groulx, P.C.”

ANSWER: In response to the allegations contained in paragraph 2 of the First

Amended Complaint, Defendants neither admit nor deny those allegations in the form

and manner alleged by Plaintiffs for the reason that they are without sufficient

knowledge or information to form a belief as to the truth of the allegations and leave

Plaintiffs to their proofs.

PLAINTIFFS’ ALLEGATION:

       “3. David MacDonald is, upon information and belief, a citizen of Prince
Edward Island, Canada. Mr. MacDonald has conducted business in connection with
this dispute in this Judicial District, including Oakland and Lapeer Counties.”

ANSWER: In response to the allegations contained in Paragraph 3 of the First

Amended Complaint, Defendants admit that Mr. MacDonald is a citizen of Prince

Edward Island, Canada.        Defendants deny any allegations inconsistent with the

forgoing.

PLAINTIFFS’ ALLEGATION:

       “4. Confederation Technologies, Inc. (“CTI”) is, upon information and belief,
a corporation formed and organized under the laws of Prince Edward Island, Canada,
with its principal place of business located at 25 4th St., Charlottetown, Prince Edward
Island, Canada C1E 2B4. Mr. MacDonald is, upon information and belief, the
president of CTI. CTI has conducted business in connection with this dispute in this
Judicial District, including Oakland and Lapeer Counties.”




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ANSWER: In response to the allegations contained in Paragraph 4 of the First

Amended Complaint, Defendants admit that CTI is a corporation formed and organized

under the laws of Prince Edward Island, Canada and that Mr. MacDonald is the

president of CTI. Defendants deny any allegations inconsistent with the forgoing.

PLAINTIFFS’ ALLEGATION:

       “5. Confederation Holdings, Inc. (“CHI”) is, is, upon information and belief,
a corporation formed and organized under the laws of Prince Edward Island, Canada,
with its principal place of business located at 25 4th St., Charlottetown, Prince Edward
Island, Canada C1E 2B4. Mr. MacDonald is, upon information and belief, the
president of CHI. CHI has conducted business in connection with this dispute in this
Judicial District, including Oakland and Lapeer Counties.”

ANSWER: In response to the allegations contained in Paragraph 5 of the First

Amended Complaint, Defendants admit that CHI is a corporation formed and

organized under the laws of Prince Edward Island, Canada and that Mr. MacDonald is

the president of CHI. Defendants deny any allegations inconsistent with the forgoing.

PLAINTIFFS’ ALLEGATION:

      “6. This Court has jurisdiction over the parties pursuant to, inter alia, MCL
§§ 600.701, 600.705, 600.711, and 600.715.”

ANSWER: In response to the allegations contained in Paragraph 6 of the First

Amended Complaint, Defendants deny those allegations in the form and manner

alleged by Plaintiffs.

PLAINTIFFS’ ALLEGATION:

      “7. This Court has subject matter jurisdiction over this dispute pursuant to 28
U.S.C. § 1332, because the matter in controversy exceeds the sum of value of


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$75,000.00 and is between citizens of the State of Michigan and the citizens or subjects
of Prince Edward Island, Canada.”

ANSWER: In response to the allegations contained in Paragraph 7 of the First

Amended Complaint, Defendants admit those allegations.

PLAINTIFFS’ ALLEGATION:

      “8. Venue is proper in this Judicial District pursuant to 28 U.S.C.
§ 1391(b)(2), because a substantial part of the events or omissions giving rise to the
claim occurred or a substantial part of property that is the subject of this action is
located in this Judicial District.”

ANSWER: In response to the allegations contained in Paragraph 8 of the First

Amended Complaint, Defendants admit that this district is a proper venue.

PLAINTIFFS’ ALLEGATION:

      “9.    The matter in controversy exceeds the sum or value of $75,000.00.”

ANSWER: In response to the allegations contained in Paragraph 9 of the First

Amended Complaint, Defendants deny those allegations in the form and manner

alleged by Plaintiffs.

PLAINTIFFS’ ALLEGATION:

       “10. David MacDonald, individually and in his capacity as president of CTI
and CHI, hired the Law Firm to perform legal services for him and his corporation in
the State of Michigan, including in Oakland and Lapeer Counties.”

ANSWER: In response to the allegations contained in Paragraph 10 of the First

Amended Complaint, Defendants deny those allegations in the form and manner

alleged by Plaintiffs.




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PLAINTIFFS’ ALLEGATION:

      “11. The Law Firm performed substantial legal services for Mr. MacDonald,
CTI, and CHI. These services relate to and include, but are not limited to:

            a.    Legal documents related to an industrial hemp dryer operation in
                  Lapeer, Michigan, including drafting a promissory note, a loan and
                  security agreement, an equipment lease agreement, and tolling and
                  split processing agreements with growers;

            b.    Forming and organizing limited liability companies in the State of
                  Michigan for industrial hemp drying, extraction, process, and
                  manufacturing operations in the State of Michigan, including THC
                  Partners, LLC; THC Real Estate Holdings, LLC; 8055 Angell Road
                  Real Estate Holdings, LLC; 2033 Real Estate Holdings, LLC;
                  Confederation Holdings USA, LLC; Michigan Hemp Processing
                  LLC or North American Processing LLC, as well as drafting
                  partnership and operating agreements for THC Partners, LLC.
                  These limited liability companies would be based or operate, at
                  least in part, in Oakland County, Michigan;

            c.    The proposed acquisition of a cherry brine plant at 8055 Angell
                  Road in Williamsburg Michigan, to be converted into one of, if not,
                  the largest industrial hemp processing and extraction facilities in
                  North America, including negotiating, drafting, and executing a
                  purchase and sale agreement and performing or overseeing all due
                  diligence in connection with the acquisition, including Phase I
                  Environmental Site Assessment and inspection of the land,
                  buildings, and improvements;

            d.    The proposed acquisition of the assets of Total Health Companies,
                  LLC, a Michigan limited liability company, located in Auburn
                  Hills, Michigan, including drafting an asset purchase and sale
                  agreement, a bill of sale, conditional release of claims and waiver
                  of liens, employment agreements, non-disclosure and non-
                  competition agreement, and inventions and discovery agreements;

            e.    The proposed acquisition of the commercial building at 2333
                  Commercial Drive in Auburn Hills, Michigan, to be used as an
                  industrial hemp manufacturing facility, including drafting a
                  purchase and sale agreement;


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             f.     A long-term relationship with a farmers’ cooperative represented
                    by Hemp Land Acquisitions, LLC, a Michigan limited liability
                    company, based in Traverse City, Michigan, including, negotiating
                    and structuring the relationship, and drafting and executing a split
                    processing agreement with Hemp Land Acquisitions, LLC, and
                    reviewing agreements between Hemp land Acquisitions, LLC and
                    prospective growers;

             g.     A long term seed supply relationship with Hempire Seed, LLC, an
                    Idaho limited liability company, to service the contract with Hemp
                    Land Acquisitions, LLC; and a processing relationship with High
                    Voltage Hemp, LLC, an Idaho limited liability company, in
                    connection with the establishment and operation of an industrial
                    hemp processing and extraction facility in Ontario, Oregon.”

ANSWER: In response to the allegations contained in Paragraph 11, including

subparts (a)-(e), of the First Amended Complaint, Defendants deny those allegations

in the form and manner alleged by Plaintiffs.

PLAINTIFFS’ ALLEGATION:

       “12. For its services, Mr. MacDonald, on behalf of himself and on behalf of
CTI and CHI, agreed to pay the Law Firm a flat-fee of $100,000.00 and all related
costs, including outstanding invoices from ATC Group Services, LLC to perform the
Phase I Environmental Site Assessment and prepare the Baseline Environmental
Assessment, totaling $6,500.00; R. Whiting Associates to perform an appraisal,
totaling $2,250,000.00; and Tim Gordon, general contractor, to inspect the physical
buildings, totaling $3,500.00, in connection with the proposed acquisition of the cherry
brine plant at 8055 Angell Road, Willliamsburg, Michigan.”

ANSWER: In response to the allegations contained in Paragraph 12 of the First

Amended Complaint, Defendants deny those allegations in the form and manner

alleged by Plaintiffs.




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PLAINTIFFS’ ALLEGATION:

      “13. On Monday, January 17, 2020, Mr. MacDonald refused to pay the
$100,000.00 agreed upon fee to the Law Firm or the related costs and denied that he or
CTI and CHI had agreed to pay the Law Firm for its services.”

ANSWER: In response to the allegations contained in Paragraph 13 of the First

Amended Complaint, Defendants deny those allegations in the form and manner

alleged by Plaintiffs.

PLAINTIFFS’ ALLEGATION:

       “14. The Law Firm held $25,956.38 in its IOLTA account for Mr. MacDonald.
The Law Firm is transferring these funds to the IOLTA account of the Law Firm’s
legal counsel of record in this action, pending resolution of the fee dispute between the
parties, pursuant to Michigan Rule of Professional Conduct 1.16(d) and State Bar
Michigan Ethics Opinion R-7.”

ANSWER: In response to the allegations contained in paragraph 14 of the First

Amended Complaint, Defendants neither admit nor deny those allegations in the form

and manner alleged by Plaintiffs for the reason that they are without sufficient

knowledge or information to form a belief as to the truth of the allegations and leave

Plaintiffs to their proofs.

PLAINTIFFS’ ALLEGATION:

    “15. Law Firm incorporates by reference paragraphs 1 through 14 of this
Complaint.”

ANSWER: Defendants incorporate by reference each of their prior responses as if they

were set forth again here.




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PLAINTIFFS’ ALLEGATION:

       “16. The defendants entered into an agreement to hire the Law Firm to perform
legal services on their collective behalf and agreed to pay a flat-fee of $100,000.00 to
the Law Firm for in services and fees related to the outside professional hired by Law
Firm to perform due diligence in connection with the defendants’ proposed acquisition
of the cherry brine plant at 8055 Angell Road, Williamsburg, Michigan.”

ANSWER: In response to the allegations contained in Paragraph 16 of the First

Amended Complaint, Defendants deny those allegations in the form and manner

alleged by Plaintiffs.

PLAINTIFFS’ ALLEGATION:

       “17. The defendants have breached their agreement with the Law Firm by
failing and/or refusing to pay the agreed upon sum of $100,000.00 to the Law Firm or
the $12,500.00 due and owing to outside professionals.”

ANSWER: In response to the allegations contained in Paragraph 17 of the First

Amended Complaint, Defendants deny those allegations in the form and manner

alleged by Plaintiffs.

PLAINTIFFS’ ALLEGATION:

       “18. As a direct and proximate result of the defendants’ breach of their
agreement with the Law Firm, the Law Firm has suffered damages in the amount of
$100,000.00, plus $12,500.00 in fees due and owing outside professional hired by Law
Firm to perform due diligence for the defendants. The sums held in escrow should be
released to the Law Firm and applied against the professional fees due and owing the
Law Firm and the outside professionals.”

ANSWER: In response to the allegations contained in Paragraph 18 of the First

Amended Complaint, Defendants deny those allegations in the form and manner

alleged by Plaintiffs.


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      WHEREFORE, Defendants respectfully request that this Honorable Court

enter a judgment of “no cause” on Plaintiffs’ First Amended Complaint and award

Defendants all of their reasonable costs and attorney fees incurred in this matter.

PLAINTIFFS’ ALLEGATION:

    “19. Law Firm incorporates by reference paragraphs 1 through 18 of this
Complaint.”

ANSWER: Defendants incorporate by reference each of their prior responses as if they

were set forth again here.

PLAINTIFFS’ ALLEGATION:

       “20. The defendants have received a benefit from the Law Firm related to the
legal services in performed for the defendants.”

ANSWER: In response to the allegations contained in Paragraph 20 of the First

Amended Complaint, Defendants deny those allegations in the form and manner

alleged by Plaintiffs.

PLAINTIFFS’ ALLEGATION:

      “21. It would be inequitable to permit the defendants to retain the benefit from
the Law Firm related to the legal services in performed for the defendants.”

ANSWER: In response to the allegations contained in Paragraph 21 of the First

Amended Complaint, Defendants deny those allegations in the form and manner

alleged by Plaintiffs.




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 PLAINTIFFS’ ALLEGATION:

       “22. The defendants have been unjustly or inequitably enriched at the Law
 Firm’s expense.”

 ANSWER: In response to the allegations contained in Paragraph 22 of the First

 Amended Complaint, Defendants deny those allegations in the form and manner

 alleged by Plaintiffs.

 PLAINTIFFS’ ALLEGATION:

       “23. The Law Firm is entitled to the value of its legal services and the
 professional services performed by outside professionals at Law Firm’s request for the
 defendants’ benefit. The value of these services total $162,500.00. The sums held in
 escrow should be released to the Law Firm and applied against the professional fees
 due and owing the Law Firm and the outside professionals.”

 ANSWER: In response to the allegations contained in Paragraph 23 of the First

 Amended Complaint, Defendants deny those allegations in the form and manner

 alleged by Plaintiffs.

       WHEREFORE, Defendants respectfully request that this Honorable Court

 enter a judgment of “no cause” on Plaintiffs’ First Amended Complaint and award

 Defendants all of their reasonable costs and attorney fees incurred in this matter.


 PLAINTIFFS’ ALLEGATION:

     “24. Law Firm incorporates by reference paragraphs 1 through 23 of this
 Complaint.”

 ANSWER: Defendants incorporate by reference each of their prior responses as if they

 were set forth again here.



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 PLAINTIFFS’ ALLEGATION:

       “25. At various times from September 15, 2019, through February 17, 2020,
 David MacDonald, individually and in his capacity as president of CTI and CHI, made
 material representation to Dean Groulx and others, verbally and in writing, about the
 CTI business opportunity in North America. For instance:

             a.     In a letter of intent, dated September 15, 2019, between CTI and
                    Total Health Companies, LLC, a copy of which is in the
                    defendants’ possession, and at various times thereafter, Mr.
                    MacDonald represented to Mr. Groulx and others that:

                    (i)     CTI owned, or had acquired, state-of-art, large capacity CO2
                            extraction equipment and technologies, certified for use in
                            the United States, capable of extracting and processing
                            industrial hemp in quantities sufficient to meet the
                            anticipated needs, immediate and future, for the facilities and
                            the business opportunity outlined by Mr. McDonald.

                    (ii)    CTI required, at a minimum, 6,000-acres of arable farmland,
                            managed by experienced farmers and harvesters, in order to
                            secure supply agreements for sufficient biomass (industrial
                            hemp) to fill CTI’s actual and anticipated purchase orders for
                            “crude oil,” isolate; and distillate in CY 2020;

                    (iii)   CTI required a facility, at a minimum of 30,000 square feet,
                            in northern Michigan, within a 1-to-2 hour radius of
                            cultivation supply sources (industrial hemp farmers) in
                            Michigan, to produce sufficient quantities of “crude” to meet
                            its actual and anticipated purchase orders for hemp oil,
                            isolates, and distillates in CY 2020;

             (b)    CTI had cash “on hand” to complete its acquisitions of Total Health
                    Companies’ assets; the commercial building located at 2333
                    Commercial Drive, Auburn Hills, Michigan; the cherry brine plant
                    located at 8055 Angell Road, Auburn Hills, Michigan, and to
                    complete the buildout of both commercial buildings in order to
                    convert them into one of, it not, the largest industrial hemp
                    extraction and processing plants and manufacturing facilities in
                    North America “for cash,” with no mortgage or financial
                    contingencies of any kind or nature;


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             (c)    David MacDonald directed and authorized the Law Firm to
                    prepare, present, and execute a Purchase and Sale Agreement, dated
                    December 11, 2019, between North Pointe Farms, LLC and THC
                    Real Estate Holdings, LLC regarding the purchase of the cherry
                    brine plant at 8055 Angell Road, Williamsburg, Michigan, for
                    $1,300,000.00 for “cash” with no mortgage or any other financial
                    contingencies. The defendants are in possession of the drafts and
                    the final, executed copy of the purchase and sale agreement.

             (d)    David MacDonald directed and authorized the Law Firm to prepare
                    and present a Purchase and Sale Agreement, dated February 5,
                    2020, between Craig Yosin and Cynthia Yosin and 2333
                    Commercial Drive Real Estate Holdings, LLC for $2,200,000.00
                    for “cash” with no mortgage or other financial contingencies. The
                    defendants are in possession of the drafts and the executed copy of
                    the purchase and sale agreement from Mr. and Mrs. Yosin.

             (e)    David MacDonald directed and authorized the Law Firm to prepare
                    and present an Asset Purchase and Sale Agreement on January 31,
                    2020, between Total Health Companies, LLC and Total Health
                    Companies Holdings USA, LLC for roughly $1,030,000.00 for
                    “cash” with no mortgage or other financial contingencies.”

 ANSWER: In response to the allegations contained in Paragraph 25, including

 subparts (a)-(e), of the First Amended Complaint, Defendants deny those allegations

 in the form and manner alleged by Plaintiffs.

 PLAINTIFFS’ ALLEGATION:

       “26. These representations were false. At the time David MacDonald,
 individually and in his capacity as president of CTI and CHI, made these
 representations to Dean Groulx and others, he knew these representations were false,
 or made them recklessly, without knowledge of their truth and as a positive assertion.
 For instance:

             (a)    CTI did not, and does not, have sufficient cash on hand to complete
                    its acquisition of Total Health Companies’ assets, the commercial
                    building at 2333 Commercial Drive, Auburn Hills, Michigan, or the
                    cherry brine plant at 8055 Angell Road, Williamsburg, Michigan,

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                   or to complete the buildout for those buildings or the purchase and
                   contribution of extraction and processing equipment, all of which
                   totaling more than US $30,000,000.00.

            (b)    CTI has been engaging in an illegal and fraudulent offering in the
                   United States and Canada to raise as much as US $50,000,000.00
                   from prospective investors on the false representation that it has
                   already acquired Total Health Companies’ assets and the
                   commercial properties at 233 Commercial Drive in Auburn Hills,
                   and at 8055 Angell Road, Williamsburg, Michigan;

            (c)    CTI did not, and does not, own large capacity CO2 extraction
                   equipment capable of meeting anticipated and projected capacity at
                   the processing and extraction plant and the manufacturing facility.
                   On February 17, 2020, David Campbell, of Advanced Extraction
                   Technology, Inc., in Prince Edward Island, Canada, represented to
                   Mr. Groulx and others that Mr. MacDonald, on behalf of CTI, had
                   placed a purchase order for extraction and processing equipment
                   from Advanced Extraction more than 10-months ago but had not
                   paid “a red cent” towards the purchase of the equipment. Mr.
                   Campbell also represented that Mr. MacDonald had previously
                   informed him that CTI had already acquired Total Health
                   Companies’ assets and the commercial building at 2333
                   Commercial Drive, Auburn Hills, Michigan, which was false. As
                   of February 17, 2020, the defendants not only had not acquired
                   Total Health Companies’ assets or the commercial building at 2333
                   Commercial Drive, Auburn Hills, Michigan, but also had not even
                   finalized or executed purchase agreements in connection with the
                   assets or building.

            (d.)   CTI did not, and does not, have distribution channels to sell crude
                   oil or isolate or distillate despite Mr. MacDonald’s representation
                   that CTI needed to “secure” a minimum of 6,000-acres of biomass
                   to meet its anticipated and projected needs for CY 2020. Mr. Groulx
                   negotiated and secured a split processing agreement with Hemp
                   Land Acquisitions, LLC for as much as 12,000-acres of biomass in
                   Michigan but after the contract was executed, Mr. MacDonald
                   informed Steve Gordon, a member of Hemp Land Acquisitions,
                   LLC, on February 17,2020, that he would not, and could not,
                   guarantee the purchase of biomass from HLA’s growers because he


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                     did not have distribution, or purchase orders, for crude oil, isolate,
                     or distillate for CY 2020.

              (e.)   David MacDonald, individually and in his capacity as president of
                     CTI and CHI, falsely represented that CTI and its related holdings
                     had, or would have, a market value of more than $350,000,000.00
                     by 2023 based on his business plan, pursuant to a Valuation of
                     Business Interests of Confederation Technologies, Inc., prepared
                     by MRSB and dated January 8, 2020, and forwarded by Mr.
                     MacDonald to Mr. Groulx, via e-mail, on January 14, 2020. The
                     defendants are in possession of MRSB’s valuation report. Mr.
                     MacDonald did not disclose to Mr. Groulx that Mr. MacDonald had
                     hidden from MRSB, the private consulting firm that he had hired
                     to prepare the valuation report, that CTI had not acquired Total
                     Health Companies’ assets or the commercial building at 2333
                     Commercial Drive, Auburn Hills, Michigan, or that CTI and its
                     subsidiaries had not finalized an agreement to secure biomass from
                     Hemp land Acquisitions, LLC, or that it did not own extraction or
                     processing equipment valued at US $20,000,000.00 at that time,
                     nor that CTI did not have the wherewithal to complete the
                     acquisitions or the distribution channels necessary to come
                     anywhere close to achieving the revenue projections.”

 ANSWER: In response to the allegations contained in Paragraph 26, including

 subparts (a)-(e), of the First Amended Complaint, Defendants deny those allegations

 in the form and manner alleged by Plaintiffs.

 PLAINTIFFS’ ALLEGATION:

       “66. [sic] David MacDonald, individually and in his capacity as president of
 CTI and CHI, had no intention, at the time he made the representations to Mr. Groulx
 and others, to fulfill the representations or promises to Mr. Groulx and others.”

 ANSWER: In response to the allegations contained in Paragraph 66 [sic] of the First

 Amended Complaint, Defendants deny those allegations in the form and manner

 alleged by Plaintiffs.


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 PLAINTIFFS’ ALLEGATION:

        “67. [sic] David MacDonald, individually and in his capacity as president of
 CTI and CHI, made the representations to Mr. Groulx and others with the intention that
 Mr. Groulx would rely upon them. Mr. Groulx relied to his detriment on the
 truthfulness and completeness of the representations. Mr. MacDonald, individually and
 in his capacity as president of CTI and CHI, induced Mr. Groulx to perform legal
 services for the defendants, based on these representations and on the false promise
 that Mr. Groulx would serve as president of U.S. operations for CTI and CHI, plus
 20% of the equity in CTI and its consolidated holdings and subsidiaries, valued,
 according to Mr. MacDonald, at upwards of $350,000,000.00.”

 ANSWER: In response to the allegations contained in Paragraph 67 [sic] of the First

 Amended Complaint, Defendants deny those allegations in the form and manner

 alleged by Plaintiffs.

 PLAINTIFFS’ ALLEGATION:

       “68. [sic] David MacDonald used CTI and CHI as fraudulent
 instrumentalities. CTI and CHI are mere alter-egos of David MacDonald.”

 ANSWER: In response to the allegations contained in Paragraph 68 [sic] of the First

 Amended Complaint, Defendants deny those allegations in the form and manner

 alleged by Plaintiffs.

 PLAINTIFFS’ ALLEGATION:

        “69. [sic] As a direct and proximate result of the defendants’ actions and
 omissions, Dean Groulx and Law Offices of Dean J. Groulx, P.C. suffered direct,
 consequential, compensatory, and special damages, for which the defendants are
 jointly and severally liable.”

 ANSWER: In response to the allegations contained in Paragraph 69 [sic] of the First

 Amended Complaint, Defendants deny those allegations in the form and manner

 alleged by Plaintiffs.

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       WHEREFORE, Defendants respectfully request that this Honorable Court

 enter a judgment of “no cause” on Plaintiffs’ First Amended Complaint and award

 Defendants all of their reasonable costs and attorney fees incurred in this matter.


                  AFFIRMATIVE AND OR SPECIAL DEFENSES

       Defendants assert the following as their affirmative defenses to Plaintiff’s First

 Amended Complaint:

       1.     Plaintiffs’ First Amended Complaint fails to state a claim upon which

 relief can be granted.

       2.     Plaintiffs’ claims are barred, in whole or in part, by Plaintiffs’ unclean

 hands or fraudulent or inequitable conduct.

       3.     Plaintiffs’ claims are barred, in whole or in part, by waiver and/or

 estoppel.

       4.     Plaintiffs’ claims are barred, in whole or in part, by Plaintiffs’ own

 conduct, breaches, and failures to perform.

       5.     Any claim for damages by Plaintiff, if any, are subject to setoff.

       6.     Plaintiffs’ claims, and each allegation of fraud and misrepresentation, are

 barred in whole or in part because they fail to aver the circumstances constituting fraud

 with requisite particularity, and all such allegations should be accordingly dismissed.




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       7.     Plaintiffs’ claims, and each allegation of fraud and misrepresentation, are

 barred in whole or in part because each allegation is based on statements relating to

 future contractual promises, and not on statements relating to a past or existing fact.

       8.     The alleged $100,000 “flat-fee agreement” that Plaintiffs allege in their

 First Amended Complaint does not exist and even if it did, it is barred by the statute of

 frauds, among other reasons. If this “flat-fee agreement” is written, Plaintiffs should

 produce it to Defendants immediately.

       9.     If the parties had an express written agreement, Count II of Plaintiffs’ First

 Amended Complaint entitled “Quantum Meruit” is barred because Count II is not pled

 in the alternative and an equitable claim cannot persist where an express written

 agreement covers the same subject matter. In fact, Plaintiff alleges that Count II

 expressly incorporates the paragraph numbers that comprise Count I of the First

 Amended Complaint. If Plaintiffs allege the parties had an express written agreement,

 Plaintiffs should produce it to Defendants immediately.

       10.    If the parties did not have an express written agreement, all of Plaintiffs’

 claims are barred including because (a) an alleged “flat-fee” agreement between

 attorney and client must be in writing and signed by the parties to be enforceable and

 (b) the claims are barred by the statute of frauds if there is no written agreement signed

 by the parties pertaining to and confirming the factual assertions alleged in the First

 Amended Complaint.



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       11.    Count III of Plaintiffs’ First Amended Complaint, entitled, “Fraud and

 Misrepresentation,” is barred including because Plaintiffs failed to plead fraud with

 specificity as required, because Plaintiffs have no damages specifically and separately

 arising out of any purported “Fraud and Misrepresentation,” and because whatever

 “reliance” Plaintiffs placed on whatever “representations” Defendants alleged made

 was not reasonable.

       12.    Plaintiffs’ claims are barred because of Plaintiffs’ multiple ethical

 violations and violations of provisions of the MRPC, including those which prohibit

 attorneys from entering into business transactions with their clients, and those which

 prohibit attorneys from simultaneously representing directly adverse parties in the

 same matter without first obtaining all clients’ informed written consent.

       13.    Defendants do not owe Plaintiffs any money because Plaintiffs’ stole or

 misallocated Defendants’ funds; Plaintiffs or their counsel still have wrongful

 possession or control over Defendants’ funds, which Plaintiffs or their counsel must

 refund to Defendants immediately; Defendants demand that Plaintiffs or their counsel

 promptly tender to Defendants all Defendants’ funds in Plaintiffs’ possession or

 control, and also provide a full and accurate accounting regarding those funds.

       14.    Plaintiffs’ claims are all barred for all of the reasons set forth in

 Defendants’ forthcoming counterclaims.




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       15.      Paragraph numbers 27 through 65 of Plaintiffs’ First Amended Complaint

 are missing.

       16.      All claims against David MacDonald personally are improper and must

 be dismissed immediately including because Mr. MacDonald only acted if at all

 through and on behalf of the corporate entity defendants and therefore he has no

 personal liability.

       17.      Defendants expressly reserve the right to supplement or amend these

 affirmative defenses to the fullest extent allowed by law.


                                   JURY DEMAND

 Defendants demand trial by jury as to all claims for which such a right exists.

 Dated: May 9, 2020               Respectfully submitted,

                                  HOWARD & HOWARD ATTORNEYS PLLC

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                           CERTIFICATE OF SERVICE

        I hereby certify that on May 9, 2020, I electronically filed this Defendants’
 Answer to First Amended Complaint, Affirmative Defenses and Jury Demand and this
 Certificate of Service with the Clerk of the Court using the ECF system, which will
 send notification of such filing to those registered persons/members of the Court’s ECF
 system who are participants in these proceedings via electronic notice of this filing.

 Dated: May 9, 2020                     /s/ Mark C. Vanneste
                                            Mark C. Vanneste




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